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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                     Plaintiff,                           Criminal No. 2019-CR-00395
       v.
LARRY DEAN HARMON,
                     Defendant.

                       DEFENDANT’S REPLY IN SUPPORT OF
                        MOTION FOR RELEASE OF FUNDS

       Mr. Harmon’s Motion for Release of Funds (Doc. 32) (the “Motion”) showed why
due process entitles Mr. Harmon to receive a post-seizure evidentiary hearing to challenge
the forfeitability of his assets because he “ha[s] demonstrated the inability to retain counsel
of” his “choice without access to the seized assets.” United States v. E-Gold, Ltd., 521 F.3d
411, 415 (D.C. Cir. 2008), abrogated by Kaley v. United States, 571 U.S. 320, 134 S. Ct.
1090, 188 L. Ed. 2d 46 (2014).
       In filings since then aimed at opposing the Motion, the Government has argued both
that Mr. Harmon has the assets with which to hire undersigned counsel and that, even if he
does not, Mr. Harmon still has no right to use the assets seized from him for this limited
purpose. See generally Doc. 40 (Government’s Opposition to Motion), Doc. 44
(Government’s Supplemental Opposition to Motion). But none of the Government’s filings
are sufficient to change the fact that Mr. Harmon does not have any assets with which to
hire counsel of his choosing; nor have the Government’s filings altered the fact that the
seized bitcoin, if released, would be used to pay for counsel. Thus, Mr. Harmon is entitled
to a hearing at which, in order to prevent Mr. Harmon from using them to retain counsel,
the Government must demonstrate that “probable cause exists to believe that the assets in
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dispute are traceable or otherwise sufficiently related to the crime charged in the
indictment.” Kaley, 571 U.S. at 324.
       And because the Government is unlikely to meet that burden as to all of the seized
assets, Mr. Harmon should, following the hearing, be entitled to the release of assets he
respectfully seeks.

I.     Mr. Harmon has Met His Burden to Show that He Is Entitled to a Hearing.
       Mr. Harmon has shown that “(1) he lacks the funds he requires to hire counsel of
choice, and, as a necessary corollary, (2) the seized assets, if released, would be used to
pay his legal fees.” United States v. Emor, 794 F. Supp. 2d 143, 149 (D.D.C. 2011); see
also E-Gold, Ltd., 521 F.3d at 415. The Government does not, and cannot, dispute that this
two-part showing is all that is required to entitle Mr. Harmon to a hearing.

       A.     The Declaration of His Wife Establishes That He has No Assets With
              Which to Retain Counsel, Which is Unsurprising in Light of the
              Government’s Investigation and Seizures.
       In this case, Mr. Harmon’s wife submitted a detailed declaration, outlining that Mr.
Harmon is unemployed and has no other income or assets to pay Perkins Coie. 1 [See
generally Doc. 32 Ex. A] Of course that is unsurprising where, as here, the Government
has accused a defendant of a significant financial crime and has endeavored to seize as
much of his property as it can.

       B.     Mr. Harmon Had Nothing to Do With the Missing Bitcoin and Has
              Assisted the Government in Trying to Recover it and Identify Who is
              Responsible.
       The only real issue the Government takes (at 7–8) with Mr. Harmon’s showing on
this point is that “defendant does have access to other assets—namely, the approximately




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       The Government seems to suggest that this affidavit is insufficient because it does
not come from Mr. Harmon himself. But the Government cites no authority, and indeed
none exists, for the proposition that a Defendant seeking the release of assets is required to
prove his financial circumstances exclusively through his own statements.



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712.6 BTC that he secretly transferred from HELIX-derived bitcoin wallets in April 2020.”
But this claim is neither factually true nor legally persuasive.
       While the Government’s theory of the missing bitcoin continues to evolve, Mr.
Harmon’s has always been the same: he had nothing to do with it. Weeks ago, the
Government’s first theory regarding these missing bitcoins was to insist that Larry Harmon
“himself secretly transferred approximately 712.6 BTC after being released on bond.” Doc.
40 at 8. Since learning of these bitcoin transfers, Larry Harmon has consistently denied
being involved in them and has consistently remained terrified of being wrongly accused
of having made them. Now, despite mounting evidence to corroborate Defendant’s
unwavering denials of involvement, the Government continues to insist that, even if its
initial theory that Defendant himself took the bitcoin was wrong, Defendant must have
been involved. But Mr. Harmon had nothing to do with these bitcoin transfers, and they
are no reason to deny him access to the funds he needs to retain counsel.
       Far from being involved, Mr. Harmon learned of the transfers from the Government
and has attempted, with counsel, to assist the Government in understanding what happened.
As the Supplemental Opposition states, “[o]n May 13, 2020 defense counsel first
communicated” to the Government that “INDIVIDUAL A alone was responsible for the
transfers.” Doc. 45 at 3. Of course, Defendant did not hide from the Government his beliefs
about who Individual A was. Rather Defendant was, we believe, the first person to identify
the responsible person as his brother, Gary Harmon. Then, following Mr. Harmon’s
explanation that he had nothing to do with these transfers and his identification of his own
brother as the likely perpetrator, the Government got “an unsolicited tip from a third party,
who was in communication with both the defendant and INDIVIDUAL A, to the effect
that INDIVIDUAL A transferred the 712.6 BTC without the defendant’s knowledge or
permission.” Doc. 45 at 3. In other words, an unsolicited tip from a third-party Government
source now corroborates what Defendant has maintained all along—he had no part in the
movement of the 712.6 BTC.



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       The details of this tip, disclosed to counsel by the Government but as yet unshared
with the Court, further corroborate that Defendant had nothing to do with the BTC
transfers. After hearing from the Defense on May 13, 2020 that INDIVIDUAL A alone
was responsible for the transfers, the Government spoke on May 18, 2020 with a source
who “believes Larry Harmon’s brother, Gary Harmon is responsible for moving…bitcoin
that belonged to Larry.” Ex. A (May 18, 2020 Memorandum of Conversation). In other
words, Defendant was so terrified of the consequences and so certain of who was
responsible, that he named his own brother as the likely responsible party. That information
was then corroborated by an independent source.
       Past its speculations, the Government’s Supplemental Opposition justifies its
unwillingness to believe the Defendant was uninvolved by saying, among other things, that
“defendant received [certain email] messages” and that Defendant “accessed his Dropbox
cloud storage account on March 20, 2020 [and] March 26, 2020.” (Doc. 45 at 2-3). But
these allegations similarly fail to stand for the proposition that Defendant was involved.
That Defendant received an automatic reply email from Trezor shows that someone
accessed the Trezor wallet. But that we already knew because the bitcoins moved. It does
nothing to show, and indeed could not show, that someone was Mr. Harmon. As to the
Dropbox logins, those are similarly innocuous and do not prove that Defendant was
involved with any of the transfers of missing bitcoin. 2

       C.      Even if he had been Involved With the Bitcoin Transfers, He Could Not
               Use Transferred Bitcoin to Retain Counsel.
       Furthermore, even if he did have access to it, he couldn’t use it to pay for counsel;
certainly undersigned counsel would not accept it. See Caplin & Drysdale, Chartered v.
United States, 491 U.S. 617, 626 (1989) (noting among other things that no lawyer has a


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        Defendant has continually offered to assist the Government in investigating who is
responsible for these transfers. Defendant has named his brother as the likely perpetrator and he
has offered his mother as a corroborating witness. Further Defendant has offered to proffer with
the Government on this topic.



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right to accept the proceeds of crime as payment for services); see also D.C. Bar R. Prof.
Cond. 8.4 (enumerating prohibited professional misconduct including that which
“seriously interferes with the administration of justice”).

II.    The Government Does Not Contest that at Least Some of The Seized Bitcoin is
       Unrelated to Narcotics Activity, the SUA Allegedly at the Heart of the
       Government’s Conspiracy Theory.
       Nowhere in the many pages of responses, supplements, declarations and other
materials filed by the Government does it demonstrate that every bitcoin that went through
HELIX is linked to a narcotics transaction. And nowhere in its papers does the Government
defend the veracity of the recital in the indictment that “[t]he largest volume of funds sent
to Helix came from Darknet markets . . . including AlphaBay . . . and other Darknet
markets.” (Doc. 1 at ¶8) Instead the Government acknowledges that its efforts to determine
what seized assets actually came from drug transactions, quantified at roughly $21 million,
amount only to a “conservative estimate.” (See Doc. 40 at 17). And the Government for
the first time explains that its $21 million “figure does not include additional drug money
laundering accomplished on the buyer side.” (Id. at 17-18). Of course, that new “buy[]
side” explanation in no way supports the grand jury finding about funds sent “to HELIX.”
       Still, though, the Government insists it can prevent Mr. Harmon from accessing the
seized assets to pay for counsel simply because that property was “involved in” the alleged
HELIX Money Laundering Conspiracy. (Doc. 40 at 12-13). But, as explained in Part III
below, to the extent the Government argues that being “involved in” the alleged conspiracy
means something less than being the traceable proceeds or instrumentalities of the
conspiracy, that argument stretches the principle of “taint” beyond its constitutional
breaking point.

III.   Pretrial Restraint of Assets Not Traced to The Alleged Narcotics Activity is
       Unconstitutional.
       To be clear, as he conceded from the outset, to the extent the Government can trace
seized bitcoin to narcotics-related transactions, Defendant cannot ask for its release to pay




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for his defense. Defendant has asked only for the release of assets the Government has not
traced to any such transactions.

       A.     Luis Establishes a Constitutional Rule that, Where Needed to Pay for
              Counsel, Assets Can be Restrained Pretrial Only Where Traced to the
              Charged Offense.
       As the Supreme Court explained in Luis “untainted” property “differs from a
robber’s loot, a drug seller’s cocaine, a burglar’s tools, or other property associated with
the planning, implementing, or concealing of a crime.” Luis v. United States, 136 S. Ct.
1083, 1090, 194 L. Ed. 2d 256 (2016). Rejecting the Government’s argument that property
could be restrained even where it could not be traced to the charged offense, the Supreme
Court’s plurality explained that “[t]o permit the Government to freeze Luis’ untainted
assets would unleash a principle of constitutional law that would have no obvious stopping
place.” Id at 1094. Further explaining its rationale that the Government must trace assets
to the charged crimes in order to place them beyond the reach of a defendant, like Mr.
Harmon, who seeks to use them to hire counsel, the Court noted that tracing assets was a
familiar judicial task and that “[c]ourts use tracing rules in cases involving fraud, pension
rights, bankruptcy, trusts, etc.” Id. at 1095. The property Mr. Harmon seeks to use to pay
for counsel is here, as in Luis “is not loot, contraband, or otherwise ‘tainted’ [by the alleged
narcotics activity].” See id. at 1090. The Government has not traced it to the offense alleged
in Count One and it should, therefore, be available to pay for counsel.

       B.     The Government Has Not Traced All Seized Assets to the Narcotics
              Offense Charged in Count One, Which it Must do To Restrain Them.
       The Government disagrees, insisting that the “broad scope” and “sweeping terms”
of 18 U.S.C. § 982(a)(1) permit it to restrain all the seized assets because, says the
Government, they were “involved in” the charged crime even if the Government has not
traced them to any drug-related transactions. (See Doc. 40 at 12-13) The Government’s
position seems to reduce to the argument that if some drug-related bitcoin flowed through
HELIX, it can restrain all the HELIX-linked bitcoin it has found as “involved in” the




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unlawful narcotics activity. (See Doc. 40 at 13-14) In its own words, the Government
argues that “Section 982(a)(1) requires forfeiture of all property ‘involved in’ the entire
money laundering conspiracy.” Doc 40 at 13 (title case capitalizations altered).
       But neither Luis nor any case undersigned counsel have found since, stands for the
proposition that the Government can restrain, pretrial and when needed to hire counsel,
assets it has not traced to the charged unlawful activity. To the contrary Luis made plain
that the “constitutional line between a criminal defendant’s tainted funds and innocent
funds needed to pay for counsel should prove workable” because of the experience of
courts in applying “tracing rules.” Luis, 136 S. Ct. at 1086.
       Which rules apply to the tracing of immutable, nonfungible digital assets appears to
be a question of first impression, though one to which the answer should be straightforward
given the nature of the assets in question. The court in Luis correctly noted that “money is
fungible . . . [b]ut the law has tracing rules that help courts implement the kind of
distinction we require in this case.” Luis, 136 S. Ct. at 1095; see also United States v.
$56,471,329.88 in Proceeds From the Sale of a Bond Belonging to Airbus SE, No. 20-CV-
408, 2020 WL 2896661, at *2 (D.D.C. June 3, 2020) (applying tracing rules to fungible
and commingled bank deposits).
       Digital assets like bitcoin, though, are not fungible. Rather, “every bitcoin has a
history that anybody can view in the block chain.” ARVIND NARAYANAN, ET AL, BITCOIN
AND   CRYPTOCURRENCY TECHNOLOGIES 219 (2016). Most importantly here, a “coin’s
history traces all the way back to one or more coinbase transactions in which coins were
originally minted.” Id. Thus where, as here, the Government’s burden is to trace the assets
it seeks to restrain and where, as here, those assets are nonfungible digital assets, it must
do what it has so far not done—actually trace that which it seeks to restrain to actually
unlawful transactions.
       Finally, though in a similar vein, the Government’s insistence (at 15) that it can prior
to conviction, restrain all the seized digital assets because of statutory language permitting



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forfeiture of “any commissions or fees paid to the launderer” also goes too far to the extent
the Government seeks to apply it to transactions other than those involving narcotics
proceeds. “When a business has both lawful and unlawful aspects, only the income
attributable to the unlawful activities is forfeitable.” United States v. Hodge, 558 F. 3d 630,
635 (7th Cir. 2009). Here too, if the Government can no doubt restrain assets traced to
unlawful narcotics transactions. But the Government has not, and likely cannot, do that as
to all seized assets.

IV.    In All Events, The Government Has Not Demonstrated That All The Seized
       Digital Assets Were “Involved In” Narcotics-Related Money Laundering
       Conspiracy.
       As a final matter, even assuming that the Constitution permits the pretrial restraint
of assets merely “involved in” money laundering, the Government has not demonstrated
that all the assets seized here satisfy even that amorphous concept. Though the
Government nowhere tells us what it thinks “involved in” means where, as here, the
property in question is not fungible, like money, but rather is immutable, unique digital
currency, as discussed above. Broadly speaking, “courts have consistently interpreted the
phrase involved in in § 982(a)(1) broadly to include the money or property being
laundered as well as property used to commit or to facilitate the money laundering
offense or the underlying unlawful activity.” United States v. Miller, 295 F. Supp. 3d 690,
697 (E.D. Va.), aff'd, 911 F.3d 229 (4th Cir. 2018) (internal quotation omitted). But the
Government has not shown that seized bitcoins not traceable to narcotics-related
transactions are “involved” in the narcotics-related conspiracy alleged here.

V.     Conclusion
       The issue before the Court at the moment is not whether the Government can
ultimately forfeit all the assets it has seized. Rather, the issue is narrower: whether the
Government can constitutionally restrain all the assets it has seized where some such
assets are needed to pay for counsel.




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       The Supreme Court has made clear that assets can be restrained, even if needed to
pay for counsel, where they are traced to the charged crimes. But the Government has
not done that work here. Thus, Mr. Harmon respectfully requests that the Motion be
granted and sufficient funds be released to fund his defense.


Dated: July 1, 2020
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                               CERTIFICATE OF SERVICE

         I hereby certify that on July 1, 2020, I filed the foregoing document to the Clerk of
Court using the ECF System for filing and transmittal of a Notice of Electronic Filing
which will send such notice of filing to all filing users.


                                                      /s/ Indy Fitzgerald
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